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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a                     §
BRAZOS LICENSING AND                            §
DEVELOPMENT,                                    §
                                                §         Case No. 6:20-cv-572-ADA
Plaintiff,                                      §
                                                §
v.                                              §
                                                §
GOOGLE LLC,                                     §
                                                §
Defendant.                                      §
                                                §         JURY TRIAL DEMANDED


 INDEX OF NON-CONFIDENTIAL DOCUMENTS TO DEFENDANT GOOGLE LLC’S
       MOTION FOR SUMMARY JUDGMENT OF NON-INFRINGEMENT

         The following documents are publicly filed as exhibits to the above-referenced sealed

document:

         Exhibits 1, 5, 6, 7, and 8.

 Date: June 28, 2023                                Respectfully submitted,

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